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                                                 PUBLISHED

                                   UNITED STATES COURT OF APPEALS
                                       FOR THE FOURTH CIRCUIT


                                                  No. 23-2085



        JOSHUA CLAY MCCOY; TYLER DALTON MCGRATH; IAN FLETCHER
        SHACKLEY; JUSTIN TIMOTHY FRASER, on behalf of themselves and all others
        similarly situated as a Class,

                       Plaintiffs – Appellees,

        v.

        BUREAU OF ALCOHOL, TOBACCO, FIREARMS AND EXPLOSIVES;
        STEVEN DETTELBACH, in his official capacity as Director of the Bureau of
        Alcohol, Tobacco, Firearms and Explosives; PAMELA JO BONDI, in her official
        capacity as Attorney General of the United States,

                       Defendants – Appellants.

        ---------------------------------

        GIFFORDS LAW CENTER TO PREVENT GUN VIOLENCE; BRADY CENTER
        TO PREVENT GUN VIOLENCE; ILLINOIS; ARIZONA; CALIFORNIA;
        COLORADO; CONNECTICUT; DELAWARE; DISTRICT OF COLUMBIA;
        HAWAII; MARYLAND; MASSACHUSETTS; MICHIGAN; MINNESOTA;
        NEVADA; NEW JERSEY; NEW YORK; NORTH CAROLINA; OREGON;
        PENNSYLVANIA; RHODE ISLAND; VERMONT; WASHINGTON,

                       Amici Supporting Appellants.



        Appeal from the United States District Court for the Eastern District of Virginia at
        Richmond. Robert E. Payne, Senior District Judge. (3:22−cv−00410−REP)


        Argued: January 30, 2025                                          Decided: June 18, 2025
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        Before WILKINSON, QUATTLEBAUM, and HEYTENS, Circuit Judges.


        Reversed and remanded with directions to dismiss by published opinion. Judge Wilkinson
        wrote the opinion, in which Judge Heytens joined. Judge Heytens wrote a concurring
        opinion. Judge Quattlebaum wrote a dissenting opinion.


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        WILKINSON, Circuit Judge:

                  18 U.S.C. § 922(b)(1) prohibits the commercial sale of handguns to individuals

        under the age of 21. Appellees are four 18- to-20-year-olds who want to buy handguns.

        The question in this case is whether § 922(b)(1) violates appellees’ Second Amendment

        rights.

                  We hold that it does not. From English common law to America’s founding and

        beyond, our regulatory tradition has permitted restrictions on the sale of firearms to

        individuals under the age of 21. Section 922(b)(1) fits squarely within this tradition and is

        therefore constitutional. See N.Y. State Rifle & Pistol Ass’n v. Bruen, 597 U.S. 1 (2022)

        (establishing text, history, and tradition test for the Second Amendment).

                                                       I.

                                                      A.

                  Federal law prohibits any person from “engag[ing] in the business of importing,

        manufacturing, or dealing in firearms” without a Federal Firearms License. 18 U.S.C.

        § 923(a). Upon obtaining a license, Federal Firearm Licensees (“FFLs”) become subject to

        a number of statutory restrictions. One restriction concerns the buyer’s age. Section

        922(b)(1) makes it unlawful for FFLs to sell “any firearm” to individuals under the age of

        18 or, as relevant here, any firearm “other than a shotgun or rifle” to individuals between

        18 and 20. It reads as follows:

                  It shall be unlawful for any licensed importer, licensed manufacturer,
                  licensed dealer, or licensed collector to sell or deliver—any firearm or
                  ammunition to any individual who the licensee knows or has reasonable
                  cause to believe is less than eighteen years of age, and, if the firearm, or
                  ammunition is other than a shotgun or rifle, or ammunition for a shotgun or

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               rifle, to any individual who the licensee knows or has reasonable cause to
               believe is less than twenty-one years of age.

        18 U.S.C. § 922(b)(1). An FFL who “willfully violates” this provision can be fined,

        imprisoned for up to five years, or both. 18 U.S.C. § 924(a)(1)(D). The law does not

        penalize the underage individuals who buy firearms.

               When it comes to 18- to 20-year-olds, § 922(b)(1)’s prohibition on sales of firearms

        “other than a shotgun or rifle” was “primarily designed to reduce access to handguns.”

        S. REP. NO. 90-1097, at 189 (1968) (statement of Sen. Tydings). After years of

        investigation, Congress found “a causal relationship between the easy availability of

        [handguns] and juvenile and youthful criminal behavior” and sought to prohibit handgun

        sales “to emotionally immature” and “thrill-bent juveniles and minors.” Omnibus Crime

        Control and Safe Streets Act of 1968, Pub. L. No. 90-351, 82 Stat. 197, 225–26.

               Section 922(b)(1) is narrow in several respects. First, the law regulates only

        transactions involving firearms. It does not prohibit anyone from owning, possessing, or

        using firearms.

               Second, the provision regulates only the commercial sale of firearms. It applies only

        to FFLs, who are sellers “engage[d] in the business of . . . dealing in firearms.” 18 U.S.C.

        § 923(a). A seller engages in the business of dealing in firearms only if he “devotes time,

        attention, and labor to dealing in firearms as a regular course of trade or business to

        predominantly earn a profit through the repetitive purchase and resale of firearms.” 18

        U.S.C. § 921(21)(C). Sellers not engaged in the business of dealing in firearms are not

        required to have a license, and unlicensed sellers are not covered by § 922(b)(1). As a


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        result, gifts and private sales are beyond the law’s reach. See United States v. Hosford, 843

        F.3d 161, 166 (4th Cir. 2016).

               Third, when it comes to 18- to 20-year-olds, § 922(b)(1) applies only to firearms

        “other than a shotgun or rifle.” That qualification leaves much of the firearms market

        untouched. See NSSF Releases Most Recent Firearm Production Figures, NAT’L

        SHOOTING SPORTS FOUND. (Jan. 15, 2025). The law does not, for example, prohibit the

        sale of hunting rifles and other long guns.

                                                      B.

               Appellees are four 18- to 20-year-olds who wish to buy a handgun from an FFL but

        cannot because of § 922(b)(1). In June 2022, appellees sued the Bureau of Alcohol,

        Tobacco, Firearms and Explosives (“ATF”) in the Eastern District of Virginia. They

        claimed that § 922(b)(1) violates the Second Amendment and sought declaratory and

        injunctive relief.

               The district court granted appellees’ motion for summary judgment. Applying the

        text, history, and tradition test outlined in New York State Rifle & Pistol Ass’n v. Bruen,

        597 U.S. 1 (2022), the court first determined that “the Second Amendment’s protections

        apply to 18-to-20-year-olds” and that “the right to purchase a gun falls within the Second

        Amendment’s plain text.” Fraser v. ATF, 672 F. Supp. 3d 118, 130, 136 (E.D. Va. 2023).

        It then concluded that the government failed to demonstrate a relevant tradition of firearm

        regulation that could support the constitutionality of § 922(b)(1). With respect to the

        founding era, the district court found the government’s evidence of analogous regulation

        lacking. It also emphasized that “the Founders understood that militia service began at the

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        age of 18” which, in the district court’s view, indicated that 18- to 20-year-olds had an

        unlimited constitutional right to purchase a handgun. Id. at 143. Turning to the nineteenth

        century, the court acknowledged that numerous states prohibited the sale of handguns to

        individuals under the age of 21 but concluded that these laws “tell[] us nothing” because

        they came long after the ratification of the Second Amendment. Id. at 144–45.

               The government timely appealed. It argues that the district court erred in concluding

        that § 922(b)(1) violates the Second Amendment. We agree and reverse the district court’s

        grant of summary judgment.1

                                                     II.

               The Second Amendment reads: “A well regulated Militia, being necessary to the

        security of a free State, the right of the people to keep and bear Arms, shall not be

        infringed.” U.S. CONST. amend. II. In New York State Rifle & Pistol Ass’n v. Bruen, 597

        U.S. 1 (2022), the Supreme Court set forth a two-part test for determining “whether modern

        firearm regulations are consistent with the Second Amendment’s text and historical

        understanding.” Id. at 26.


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                 After the district court ruled for appellees on the merits, appellees moved for class
        certification and the district court certified a nationwide class. On appeal, the government
        argues that the district court erred in certifying a class after issuing a favorable ruling on
        the merits for appellees. See Fed. R. Civ. P. 23(c)(1)(A) (“At an early practicable time after
        a person sues . . . the court must determine by order whether to certify the action as a class
        action.”). The government argues that appellees should not receive the benefit of class-
        wide relief when they strategically withheld their class certification motion to avoid being
        bound by an unfavorable ruling. Opening Br. at 26. We agree with the government that the
        district court did not certify the class at “an early practicable time.” Fed. R. Civ. P.
        23(c)(1)(A). We therefore hold that the district court’s decision to certify the class was an
        error.

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               At step one, we must determine whether “the Second Amendment’s plain text

        covers [the] individual’s conduct.” Bruen, 597 U.S. at 17. If it does, “the Constitution

        presumptively protects that conduct” and we must proceed to step two. Id.

               At step two, the burden shifts to the government to “demonstrate that the

        [challenged] regulation is consistent with this Nation’s historical tradition of firearm

        regulation. Only if a firearm regulation is consistent with this Nation’s historical tradition

        may a court conclude that the individual’s conduct falls outside the Second Amendment’s

        ‘unqualified command.’” Bruen, 597 U.S. at 17 (quoting Konigsberg v. State Bar of Cal.,

        366 U.S. 36, 50 n.10 (1961)).

               Determining whether the challenged regulation comports with our country’s

        regulatory tradition involves “analogical reasoning.” Bruen, 597 U.S. at 28. The key

        question is “whether the new law is ‘relevantly similar’ to laws that our tradition is

        understood to permit.” United States v. Rahimi, 602 U.S. 680, 692 (2024) (quoting Bruen,

        597 U.S. at 29). “How and why the regulations burden” Second Amendment rights are

        “central to this inquiry.” Bruen, 597 U.S. at 29; Rahimi, 602 U.S. at 692. Put differently,

        we must ask whether the “modern and historical regulations impose a comparable burden”

        on the right and whether “that burden is comparably justified.” Bruen, 597 U.S. at 29.

               Importantly, the challenged law need not “precisely match its historical precursors.”

        Rahimi, 602 U.S. at 692. As the Supreme Court has explained, “the appropriate analysis

        involves considering whether the challenged regulation is consistent with the principles

        that underpin our regulatory tradition,” not applications of those principles found in

        particular laws. Id. (emphasis added); see also id. at 740 (Barrett, J., concurring)

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        (“‘Analogical reasoning’ under Bruen demands a wider lens: Historical regulations reveal

        a principle, not a mold.”). That is why the government must distill a relevant principle from

        a “historical analogue,” but it need not unearth a “dead ringer” or “historical twin.” Bruen,

        597 U.S. at 30.

               When discerning a relevant principle from our regulatory tradition, we are mindful

        that “not all history is created equal.” Bruen, 597 U.S. at 34. “‘Constitutional rights are

        enshrined with the scope they were understood to have when the people adopted them.’

        The Second Amendment was adopted in 1791.” Id. (quoting District of Columbia v. Heller,

        554 U.S. 570, 634–35 (2008)). A regulatory practice from around that date, therefore, is

        more likely to be consistent with the principles of the Second Amendment than a practice

        that existed long before or emerged long after the Amendment’s ratification. See id. at 34–

        36.

               That is not to say that pre- or post-enactment history is without value. If a founding-

        era practice stemmed from a “long, unbroken line of common-law precedent,” that is strong

        evidence that the practice was part of a deeply rooted tradition and thus a “part of our law.”

        Bruen, 597 U.S. at 35. Likewise, a founding-era practice that gave rise to an enduring

        tradition is more likely to reflect the widespread understanding of the founding generation

        than a practice that was short-lived and may have been an outlier. See id. at 37, 66 n.28.

                                                     III.

               Starting with Bruen’s first step, we look to the text of the Second Amendment. As

        Heller made clear, handguns are “Arms” because they are “the quintessential self-defense

        weapon.” Heller, 554 U.S. at 629. And the parties do not dispute that appellees’ intended

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        action—purchasing a handgun for lawful purposes—is part of the “conduct” protected by

        the Amendment. Bruen, 597 U.S. at 31–32. The parties do seem to dispute, however,

        whether individuals between the ages of 18 and 20 are part of “the people” protected by

        the Second Amendment. Like the Eleventh Circuit, we assume without deciding that

        appellees are part of “the people” and are therefore covered by the Amendment’s text. See

        NRA v. Bondi, 2025 WL 815734, at *15 (11th Cir. Mar. 14, 2025) (en banc).

                                                   IV.

               Turning to the narrower focus of step two, we conclude that the burden § 922(b)(1)

        imposes on the Second Amendment rights of 18- to 20-year-olds is relevantly similar to

        the burden imposed by the founding-era rule that contracts with individuals under the age

        of 21 were unenforceable.

                                                    A.

               At English common law, a person under the age of 21 was considered an “infant”

        for purposes of contracting, and infants were not bound by their contracts. See EDWARD

        COKE, THE FIRST PART OF THE INSTITUTES OF THE LAWES OF ENGLAND 171–72 (1628).

        As Blackstone put it in his influential eighteenth-century treatise, “an infant can neither

        aliene his lands, nor do any legal act, nor make a deed, nor indeed any manner of contract,

        that will bind him.” 1 WILLIAM BLACKSTONE, COMMENTARIES *453.

               The common law understanding of contracting was broad. Like today, contracts

        could be “express or implied.” 2 BLACKSTONE, supra, at *443. They could also be

        “executed,” as when two parties make an exchange “immediately,” or “executory,” as

        when two parties agree to make an exchange later. Id.; see also 1 SAMUEL COMYN, A

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        TREATISE OF THE LAW RELATIVE TO CONTRACTS AND AGREEMENTS NOT UNDER SEAL

        151 (1809).

               Like many common law principles, the infancy doctrine made its way across the

        Atlantic, and early American courts routinely applied it. See, e.g., Pool v. Pratt, 1 D. Chip.

        253, 253 (Vt. 1814) (“It is an ancient doctrine, as old as the common law, that an infant

        shall not, in general be bound by his contract; he is under an incapacity to bind himself by

        his contract.”); Collins’ Lessee v. Rigua, 2 Del. Cas. 78, 79 (Com. Pl. 1797); Evans v. Terry,

        3 S.C.L. (1 Brev.) 80, 80 n.b1 (Const. Ct. App. 1802); Johnson v. Van Doren, 2 N.J.L. 372,

        373 (N.J. 1808); Beeler v. Young, 4 Ky. (1 Bibb.) 519, 520 (1809); Commonwealth v.

        Murray, 4 Binn. 487, 491 (Pa. 1812). Indeed, by the time of the founding, an infant’s

        inability to contract was a well understood and engrained principle of American law. See

        1 ZEPHANIAH SWIFT, A SYSTEM OF THE LAWS OF THE STATE OF CONNECTICUT 215 (1795)

        (noting that contracts with infants are generally unenforceable); 2 JAMES KENT,

        COMMENTARIES ON AMERICAN LAW 191 (1827) (stating that “until the infant has attained

        the age of twenty-one years,” he “cannot, except in a few specified cases, make a binding

        contract”).

               The infancy doctrine imposed a severe burden on a minor’s ability to purchase

        goods, including firearms, during the founding era. Eighteenth-century America was a

        credit economy. From the “account books as survive, it is evident that very little cash

        changed hands,” “purchasers who paid in cash were rare,” and because of the “shortage of

        a circulating medium,” “credit rather than cash payment was the rule everywhere.” CARL

        BRIDENBAUGH, THE COLONIAL CRAFTSMAN 153–54 (1961). Under a practice known as

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        “book credit,” merchants recorded promises of future payment from their customers in

        account books. David T. Flynn, Credit in the Colonial American Economy, ECON. HIST.

        ASS’N (2008). And since infants could “not be held liable for failing to uphold their side

        of a contract over goods,” extending credit to minors was a “considerable risk.” HOLLY

        BREWER, BY BIRTH OR CONSENT: CHILDREN, LAW, AND THE ANGLO-AMERICAN

        REVOLUTION IN AUTHORITY 265 (2005). Put simply, “whoever entered into a contract with

        an infant could lose substantial amounts of money” because courts refused to hold minors

        accountable for payment. Id. at 270; see also, e.g., Counts v. Bates, 16 S.C.L. (Harp.) 464,

        467 (Const. Ct. App. 1824) (holding that infant can keep a horse without paying credit

        amount owed). That “high risk made infants effectively unable to” purchase goods on

        credit. See BREWER, supra, at 270.

               Nor could minors rely on buying a firearm with cash. First, coin was scarce during

        the founding era. See BRIDENBAUGH, supra, at 153–54. In addition, infants “lacked

        disposable income” because “they either worked for their parents for no wages, or any

        wages earned belonged to their parents.” Bondi, 2025 WL 815734, at *7 (citing Robert J.

        Spitzer, Historical Weapons Restrictions on Minors, 76 RUTGERS U. L.R. 101, 108 (2024);

        1 BLACKSTONE, supra, at *453). Furthermore, even if an infant had enough coin to buy

        a gun, merchants would have been unwilling to sell because they bore the risk that the

        minor would rescind the transaction and be entitled to a full refund under the infancy

        contract doctrine. See, e.g., Riley v. Mallory, 33 Conn. 201 (1866) (holding that seller of a

        firearm was required to give a full refund to minor who insisted on returning used gun).



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                 In arguing that the infancy doctrine did not apply to purchases of firearms, appellees

        point us to the “necessaries” exception. See Oral Arg. at 35:34. It is true that at English

        common law an infant could be bound by a contract for necessaries. But by the time of the

        founding, courts “began to view necessaries in very narrow terms.” BREWER, supra, at 266.

        If an “infant live[d] with his father or guardian,” for example, he could not “bind himself

        even for necessaries.” 2 KENT, supra, at 196. And even where the necessaries exception

        did apply, it covered “victuals, clothing, medical aid, and ‘good teaching or instruction.’”

        Id. There is no evidence that the exception was ever extended to firearms. Indeed, at least

        one court explicitly held that it did not apply to “pistols.” Saunders Glover & Co. v. Ott’s

        Adm’r, 12 S.C.L. (1 McCord) 572, 572 (Const. Ct. App. 1822).

                 Appellees next argue that “infancy” in contract doctrine was tethered not to the age

        of 21 but to a generally applicable “age of majority” that changes over time. Appellees

        derive this general age of majority by considering the critical mass of age restrictions for

        important civic activities, such as the age to vote and to serve on juries. They then observe

        that while at the founding the age threshold for these civic activities was 21, today it is 18.

        From this appellees conclude that, even if our Nation’s regulatory tradition supports

        restrictions on an infant’s ability to buy a gun, the scope of that tradition today is limited

        to those who are under 18, given the change in the “age of majority.” See Response Brief

        at 15.

                 The problem is that “infancy” in contract law was not tied to a dynamic, generally

        applicable age of majority. The definition of an “infant” at common law varied with the

        nature of the activity. See SAMUEL CARTER, THE INFANTS LAWYER: OR, THE LAW

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        (ANCIENT AND MODERN) RELATING TO INFANTS 44 (2d ed. 1712) (describing “the Several

        Ages of Infants in the Law”). For example, the age of consent to marry ranged from twelve

        to fourteen and the age of criminal responsibility was fourteen. Id. at 45, 47. Sometimes

        the age of infancy even varied within an area of law. An individual could execute a will

        “as to Goods and Chattels” at eighteen “but not as to Lands” until he was twenty one. Id.

        at 49. For contracting it was determined that a person was “an infant till the age of 21 years”

        because such individuals lacked “judgment and discretion in their contracts and

        transactions with others” and it was therefore necessary to protect them from “persons of

        more years and experience.” 1 COMYN, supra, at 148.

               In sum, the infancy doctrine demonstrates that there was an early American tradition

        of burdening the ability of 18- to 20-year-olds to purchase goods, including firearms. We

        now hold that § 922(b)(1) fits comfortably within this tradition because it is analogous in

        both “how” it burdens their Second Amendment rights and “why.” See Bruen, 597 U.S. at

        29; Rahimi, 602 U.S. at 692.

               With respect to “how,” the infancy doctrine and § 922(b)(1) both make it

        exceedingly difficult for a minor to purchase a handgun from a commercial seller, and they

        do so in similar ways. Both subject sellers to a risk of loss if they sell a handgun to a minor.

        Because of that risk, sellers are far less likely to transact with a minor and, in turn, a minor’s

        ability to purchase a handgun is severely burdened.

               To be sure, the risk sellers face under § 922(b)(1) is more severe than under the

        infancy doctrine. Section 922(b)(1) includes the possibility of imprisonment, whereas the

        infancy doctrine exposed sellers only to the risk of financial loss. But the relevant burden,

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        for purposes of our analysis, is the burden on the minor purchasers challenging the law.

        And from the perspective of a minor purchaser, the effects of § 922(b)(1) and the infancy

        doctrine are virtually the same. Whether he faces criminal penalties or a law that transforms

        his sales into free giveaways, a rational merchant is highly unlikely to sell a gun to a minor.

               As for “why,” § 922(b)(1) and the infancy doctrine share a common rationale. Both

        were motivated by a recognition that individuals under the age of 21 lack good judgment

        and reason. As we have explained, the infancy doctrine responded to the concern that

        infants lack the “judgment and discretion” to transact with more sophisticated adults.

        1 COMYN, supra, at 148; see also 2 KENT, supra, at 191. Similarly, Congress enacted

        § 922(b)(1) to prohibit firearm sales to “emotionally immature” and “thrill-bent juveniles

        and minors prone to criminal behavior.” Omnibus Crime Control and Safe Streets Act of

        1968, Pub. L. No. 90-351, 82 Stat. 197, 225–26.

               Because § 922(b)(1) is “relevantly similar” to founding-era restrictions on the

        commercial sale of firearms, we are satisfied that the Second Amendment permits the law’s

        burden on an 18- to 20-year-old’s right to purchase a handgun.

                                                      B.

               The district court held, and appellees here argue, that the Militia Act of 1792

        demonstrates that 18- to 20-year-olds have a constitutional right to purchase handguns. See

        also Reese v. ATF, 127 F.4th 583, 596 (5th Cir. 2025) (holding the same). The Act required

        that “each and every free able-bodied white male citizen of the respective states . . . who is

        or shall be of the age of eighteen years, and under the age of forty-five years (except as is

        herein of after excepted), shall severally and respectively be enrolled in the militia.” Militia

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        Act, § 1, 1 Stat. 271, 271 (1792). It further required that “every citizen so enrolled and

        notified, shall, within six months thereafter, provide himself with a good musket or

        firelock.” Id. Given this requirement to serve in an armed militia, the district court and

        appellees conclude that 18- to 20-year-olds must have had a constitutional right to purchase

        firearms.

               We disagree for two reasons. One, the Militia Act did not mandate 18 as the

        universal age of militia eligibility. It explicitly allowed states to exempt individuals from

        militia service “notwithstanding their being above the age of eighteen.” Militia Act, § 2, 1

        Stat. 271, 272 (1792). This reflected the fact that the age of enrollment fluctuated a great

        deal around the founding. Many state laws set the age of militia service at 21, for example.2

        So even if the Militia Act is evidence of some constitutional right to purchase firearms, it

        cannot stand for the proposition that such a right vested firmly at 18.

               Two, any constitutional right derived from the Militia Act would not conflict with

        § 922(b)(1)’s narrow restriction on purchase. Again, the Act required a militiaman to

        “provide himself with a good musket or firelock.” Militia Act, § 1, 1 Stat. 271, 271 (1792)

        (emphasis added). Not purchase for himself. There were of course many ways for an infant

        to “provide” himself with a firearm without going out and purchasing one himself. A minor



               2
                See, e.g., An Act for Raising Levies and Recruits to Serve in the Present Expedition
        Against the French, on the Ohio, ch. II, §§ 1–3, reprinted in 6 THE STATUTES AT LARGE;
        BEING A COLLECTION OF ALL THE LAWS OF VIRGINIA, FROM THE FIRST SESSION OF THE
        LEGISLATURE, IN THE YEAR 1619, at 438–39 (William Waller Hening ed., 1819) (setting
        age of militia service at 21); Act of June 2, 1779, ch. XXIV, §§ 3–4, 1779 N.J. Acts 58,
        59–60 (same); Ga. Code § 981, (1861) (same).

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        could use the family gun, for instance. Indeed, “[b]y 1826, at least 21 of the 24 states

        admitted to the Union—representing roughly 89 percent of the population—had enacted

        laws that placed the onus on parents to provide minors with firearms for militia service.”

        Bondi, 2025 WL 815734, at *8; see also id. at *7 (collecting state statutes).

               The 1792 Militia Act therefore does nothing to undermine our analysis regarding

        the founding-era tradition of restricting the sale of firearms to infants.

                                                      C.

               Finally, our analysis is reinforced by later nineteenth-century history, which, when

        consistent with founding-era history, is helpful “confirmation” of original meaning. See

        Bruen, 597 U.S. at 37, 66 & n.28. Beginning in 1856, at least twenty jurisdictions enacted

        laws criminalizing the sale of firearms, often handguns specifically, to individuals under

        the age of 21.3 An illustrative example is Indiana’s 1875 law, which made it “unlawful for


               3
                 Act of Feb. 2, 1856, No. 26, 1856 Ala. Acts 17; Tenn. Code § 4864 (1858),
        reprinted in 1 THE CODE OF TENNESSEE ENACTED BY THE GENERAL ASSEMBLY OF 1857-
        8, at 871 (Return J. Meigs & William F. Cooper eds., 1858); Act of Jan. 12, 1860, ch. 33,
        § 23, 1859 Ky. Acts 241, 245; Act of Feb. 27, 1875, ch. XL, 1875 Ind. Acts 59; Act of Feb.
        17, 1876, No. CXXVIII (O. No. 63), 1876 Ga. Laws 112; Act of Feb. 28, 1878, ch. 66, § 2,
        1878 Miss. Laws 175, 175; Mo. Rev. Stat. § 1274 (1879), reprinted in 1 THE REVISED
        STATUTES OF THE STATE OF MISSOURI 1879, at 224 (Hockaday et al. eds., 1879); Act of
        Apr. 8, 1881, ch. 548, § 1, 16 Del. Laws 716, 716; Act of Apr. 16, 1881, § 2, 1881 Ill. Laws
        73, 73; Act of Mar. 24, 1882, ch. CXXXV, 1882 W. Va. Acts 421–22; Act of May 3, 1882,
        ch. 242, 1882 Md. Laws 656; Act of Mar. 5, 1883, ch. CV, 1883 Kan. Sess. Laws 159; Act
        of Apr. 3, 1883, ch. 329, §§ 1-2, 1883 Wis. Sess. Laws 290, 290; Act of Mar. 29, 1884, ch.
        78, 1884 Iowa Acts 86; Act of July 1, 1890, No. 46, 1890 La. Acts 39; Penal Code of the
        Territory of Oklahoma, ch. XXV, art. 47, §§ 1–3, 1890 Okla. Sess. Laws 412, 495; Act of
        Mar. 14, 1890, ch. 73, § 97, 1890 Wyo. Sess. Laws 127, 140; Act of July 13, 1892, ch. 159,
        §§ 1, 5, 27 Stat. 116, 116–17 (District of Columbia); Act of Mar. 6, 1893, ch. 514, 1893
        N.C. Sess. Laws 468; Act of May 14, 1897, ch. 155, 1897 Tex. Gen. Laws 221; see also
        Bondi, 2025 WL 815734, at *9 (collecting these statutes and relevant cases).

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        any person to sell . . . to any other person, under the age of twenty-one years, any pistol.”

        Act of Feb. 27, 1875, ch. XL, § 1, 1875 Ind. Acts 59, 59.

               Like the infancy contract doctrine, these nineteenth-century laws burdened 18- to

        20-year-olds’ ability to purchase handguns by making it far less likely that merchants

        would sell to them. And these laws were enacted for a familiar reason: a concern that youths

        lacked the maturity and judgment to responsibly buy their own pistols. See PATRICK J.

        CHARLES, ARMED IN AMERICA: A HISTORY OF GUN RIGHTS FROM COLONIAL MILITIAS TO

        CONCEALED CARRY 156, 404–05 (2019) (collecting contemporaneous sources).

               These nineteenth-century laws also support our understanding that restrictions

        specific to handguns fall within the tradition we have identified. Because handgun

        ownership was not prevalent until the mid-nineteenth century, it is not surprising that the

        government cannot point us to a “historical twin” from the founding era. But as soon as

        handguns came on the scene, legislatures quickly prohibited their sale to minors, consistent

        with our Nation’s regulatory tradition of restricting firearm sales to infants. These

        nineteenth-century laws were celebrated by the public and went largely unchallenged. See

        CHARLES, supra, at 156. As far as we can tell, the Tennessee Supreme Court was the only

        court to consider the constitutionality of these laws, and it held that they were

        constitutional. See State v. Callicutt, 69 Tenn. 714, 716–17 (1878).

               Last, it is not lost upon us that in modern times “[m]any states (and the District of

        Columbia) proscribe or restrict the sale of handguns to persons under 21.” NRA v. ATF,

        700 F.3d 185, 190 n.4 (5th Cir. 2012). These widespread restrictions on handgun sales to



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        those under 21 are testament to the continuity of the historical tradition that we have

        identified.

               Moreover, the New York law struck down in Bruen and the D.C. law invalidated in

        Heller were both identified as outliers by the Supreme Court. See Bruen, 597 U.S. at 79

        (Kavanaugh, J., joined by Roberts, C.J., concurring) (“[T]he Court correctly holds that New

        York’s outlier ‘may-issue’ licensing regime for carrying handguns for self-defense violates

        the Second Amendment.”); id. at 78 (Alito, J., concurring) (“The District of Columbia law

        [in Heller] was an extreme outlier.”); Heller, 554 U.S. at 629 (noting that “[f]ew laws in

        the history of our Nation have come close to the severe restriction of the District’s handgun

        ban”). The law before us is anything but. The only “outlier” would be our ruling

        unconstitutional a federal statute that is so consonant with our historical and contemporary

        tradition. If we were to hold that it is beyond the power of a legislature to bar an 18-year-

        old from purchasing a handgun, why stop at 18? What principle of law would allow a

        legislature to prohibit handgun sales to a 14- or 16-year-old? See Heytens, J., concurring,

        at 22. Appellees would have us pursue a path more sweeping and unlimited than any

        reasonable interpretation of the Constitution can bear.

                                                     V.

               Declaring an Act of Congress to be unconstitutional is a big step for a court to take.

        Just as the Second Amendment protects the right of the people to keep and bear arms, the

        democratic process protects the right of the people to the blessings of self-government.

        Bruen and Rahimi acknowledge the latter right. See Bruen, 597 U.S. at 30 (noting that

        history and tradition is not a “regulatory straightjacket”); Rahimi, 602 U.S. at 691

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        (emphasizing that Bruen did not transform the Second Amendment into “a law trapped in

        amber”). It seems clear from the Court’s decisions that individual and democratic rights do

        not extinguish one another in this important area and, further, that it is not impermissible

        for lower courts to attempt some demonstration of respect for both.

               Basic respect for traditional democratic authority is a modest ask. Our holding here

        simply acknowledges that legislatures may enact these sorts of age restrictions, not that

        they must. If § 922(b)(1) proves unpopular, lawmakers remain free to take a different

        course. But to date they have not done so, and firearms regulation is not the kind of thing

        that tends to escape legislative attention. Indeed, Congress has had many chances to amend

        and revise the compromises reflected in the age provision at issue here, but it has passed

        them by. See Gun Control Act of 1968, Pub. L. No. 90-618, 82 Stat. 1213; Brady Handgun

        Violence Prevention Act, Pub. L. No. 103-159, 107 Stat. 1536 (1993); Violence Against

        Women Act of 1994, Pub. L. 103-322, 108 Stat. 1796. Into the middle of this longstanding

        legislative compromise, the plaintiffs now come charging, inviting us to improve on

        Congress’s work. Respectfully, we must decline.

                                        *             *              *

               We have done our best to faithfully apply the analytical framework set out in Bruen.

        There plainly exists a robust tradition that supports the constitutionality of § 922(b)(1). Our

        analysis is reinforced by the Supreme Court’s repeated insistence across its Second

        Amendment cases that “longstanding . . . laws imposing conditions and qualifications on

        the commercial sale of arms” are “presumptively lawful.” Heller, 554 U.S. at 626–27

        (Scalia, J.); see McDonald v. City of Chicago, 561 U.S. 742, 786 (2010) (Alito, J.); Bruen,

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        597 U.S. at 80–81 (Kavanaugh, J., joined by Roberts, C.J., concurring); Rahimi, 602 U.S.

        at 735 (Kavanaugh, J., concurring) (calling these laws “traditional exceptions to the right”).

        We have no reason or right to call such expressions into question. By conditioning the sale

        of handguns on a buyer’s age, § 922(b)(1) is presumptively lawful. Bruen analysis confirms

        that the law is indeed constitutional.

               For the foregoing reasons, the district court’s judgment is reversed, and the case is

        remanded with instructions to dismiss it.

                               REVERSED AND REMANDED WITH DIRECTIONS TO DISMISS




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        TOBY HEYTENS, Circuit Judge, concurring:

               Judge Wilkinson’s opinion for the Court explains why the plaintiffs’ arguments fail

        on their own terms. I write to highlight another—and, to my mind, fatal—flaw.

                                               *       *      *

               Do 16- and 17-year-olds have a constitutional right to buy handguns? To be sure,

        the plaintiffs—like others before them—have carefully limited their requested relief to

        those 18 and older.* But “[i]t is usually a judicial decision’s reasoning—its ratio

        decidendi—that allows it to have life and effect in the disposition of future cases.” Ramos

        v. Louisiana, 590 U.S. 83, 104 (2020) (opinion of Gorsuch, J.). And the plaintiffs are on

        the horns of a dilemma, because their arguments for why 18-year-olds have a constitutional

        right to buy handguns suggest that younger people do too—a startling result that the

        plaintiffs seek to obscure and for which they offer no defense.

                                               *       *      *

               The plaintiffs’ arguments have a facile appeal. The Second Amendment reads: “A

        well regulated Militia, being necessary to the security of a free State, the right of the people

        to keep and bear Arms, shall not be infringed.” U.S. Const. amend. II. As the argument

        goes, those 18 and older are part of “the people” and were generally eligible for militia



               *
                 See National Rifle Ass’n v. Bondi, 133 F.4th 1108, 1114 (11th Cir. 2025); Reese
        v. ATF, 127 F.4th 583, 586 (5th Cir. 2025); Hirschfeld v. ATF, 5 F.4th 407, 422 & n.13,
        vacated as moot, 14 F.4th 322 (4th Cir. 2021). In a related case that was argued with this
        one, the plaintiffs admitted that it would be “absurd” to suggest that “there cannot be any
        minimum age requirements with respect to firearms” but offer no rationale for drawing the
        line at 18. Appellees Br. at 39, Brown v. ATF, No. 23-2275 (4th Cir. Feb. 21, 2024).

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        service at the Founding. Serving in the militia entailed “bear[ing] Arms,” and Founding-

        era militia members were expected to provide their own weapons. There were also no

        Founding-era statutes regulating firearm sales based on age. Ergo, the Second Amendment

        protects today’s 18-to-20-year-olds’ individual right to buy a handgun.

               So what about today’s 16- and 17-year-olds? After all, 16- and 17-year-olds also

        served in Founding-era militias, and they were not subject to any Founding-era firearm

        sales restrictions based on age. Indeed, none of the arguments in the previous paragraph

        are limited to those 18 and older. Thus, any decision accepting the plaintiffs’ logic would

        suggest that—any ipse dixit aside—today’s high school juniors also have a constitutionally

        protected right to buy handguns.

               The plaintiffs respond that today’s society has come to treat 18 as the critical age

        for most (though, of course, not all) purposes. That argument chases its own tail. For

        example, the plaintiffs point to the Twenty-Sixth Amendment, which says: “The right of

        citizens of the United States, who are eighteen years of age or older, to vote shall not be

        denied or abridged by the United States or by any State on account of age.” U.S. Const.

        amend. XXVI, § 1. But that amendment was ratified in 1971—three years after the statute

        challenged here was enacted. See Omnibus Crime Control and Safe Streets Act of 1968,

        Pub. L. No. 90-351, 82 Stat. 197, 230. It seems implausible that 18 U.S.C. § 922(b)(1) was

        constitutional as applied to 18-to-20-year-old purchasers on the day it took effect only to

        become unconstitutional a mere three years later.

               True, the Supreme Court has treated 18 as a dividing line for other constitutional

        provisions that do not mention age—specifically, the Eighth Amendment’s prohibition

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        against “cruel and unusual punishments.” U.S. Const. amend. VIII; see Roper v. Simmons,

        543 U.S. 551 (2005); Miller v. Alabama, 567 U.S. 460 (2012). But the Supreme Court has

        made clear—over and over—that Eighth Amendment analysis requires considering “the

        evolving standards of decency that mark the progress of a maturing society.” Roper,

        543 U.S. at 561 (quoting Trop v. Dulles, 356 U.S. 86, 100–01 (1958) (plurality opinion)).

        In contrast, Second Amendment analysis is “centered on constitutional text and history.”

        New York State Rifle & Pistol Ass’n v. Bruen, 597 U.S. 1, 22 (2022). It should be no surprise

        that these different approaches sometimes produce different outcomes. Cf. Heller v.

        District of Columbia, 670 F.3d 1244, 1274 (D.C. Cir. 2011) (Kavanaugh, J., dissenting)

        (noting that “governments appear to have more flexibility and power to impose gun

        regulations under a test based on text, history, and tradition than they would under strict

        scrutiny”).

                                              *      *       *

               For Second Amendment purposes, it does not matter that today’s 18-year-olds have

        come to enjoy statutory—and even constitutional—rights they would not have possessed

        at the Founding. Instead, the question is whether the “pre-existing right” that Amendment

        “codified” in 1791 already encompassed a right for 18-year-olds to buy firearms. District

        of Columbia v. Heller, 554 U.S. 570, 592 (2008). Because text, history, and tradition show

        the answer is no, I concur.




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        QUATTLEBAUM, Circuit Judge, dissenting:

               Plaintiffs—18- to 20-year-olds who want to buy handguns—challenge federal laws

        prohibiting licensed firearms dealers from selling those weapons to them. They argue the

        federal handgun purchase ban violates their Second Amendment rights. The district court

        agreed. Now my colleagues in the majority reverse, upholding the handgun purchase ban

        as consistent with our Nation’s history and tradition of regulating firearms. They reach this

        conclusion primarily by reviewing a founding-era contract law principle that permitted 18-

        to 20-year-olds to void all types of contracts they entered. But that principle does not

        impose a comparable governmental burden (a “how”), nor is it based on a comparable

        justification (a “why”) to the federal handgun purchase ban. So, it does not support the

        constitutionality of the federal handgun purchase ban. Considering actual founding-era

        firearm regulations, the purchase ban is inconsistent with our Nation’s history and tradition.

               I recognize that to many, banning sales of handguns to those under 21 makes good

        sense. I appreciate that sentiment, especially during a time when gun violence is a problem

        in our county. But that is a policy argument. As judges, we interpret law rather than make

        policy. Under Supreme Court precedent, this federal handgun purchase ban violates the

        Second Amendment. Thus, I respectfully dissent.




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                                              I. BACKGROUND

        A.     The Second Amendment and the Federal Handgun Purchase Ban

               The Second Amendment of the United States Constitution states, “[a] well regulated

        Militia, being necessary to the security of a free State, the right of the people to keep and

        bear Arms, shall not be infringed.” U.S. Const. amend. II.

               Plaintiffs—18- to 20-year-olds—challenge several federal statutes. They contest the

        validity of two provisions of the Omnibus Crime Control and Safe Streets Act of 1968,

        Pub. L. No. 90-351, 82 Stat. 197. The first provision, 18 U.S.C. § 922(b)(1), prohibits a

        federally licensed importer, manufacturer, dealer or collector from selling or delivering a

        firearm, “other than a shotgun or rifle, . . . to any individual who the licensee knows or has

        reasonable cause to believe is less than twenty-one years of age.” The provision also

        prohibits the sale or delivery of “any firearm” to an individual less than 18. Id. So in effect,

        the statute prohibits licensees from selling or delivering handguns to 18- to 20-year-olds.

        The second provision, 18 U.S.C. § 922(c)(1), imposes the same prohibition on sales to a

        person not physically present at the licensee’s business. Plaintiffs also challenge Bureau of

        Alcohol, Tobacco, Firearms and Explosives regulations that repeat this prohibition. See,

        e.g., 27 C.F.R. § 478.99(b). For convenience, I refer to these statutes and regulations as the

        federal handgun purchase ban.

        B.     Procedural History

               Plaintiffs sued “on behalf of other similarly situated members of a class”: all 18- to

        20-year-olds. Fraser v. ATF, 672 F. Supp. 3d 118, 122 (E.D. Va. 2023). Before plaintiffs

        moved for class certification, the parties agreed to proceed with dispositive motions. The


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        government moved to dismiss, and plaintiffs moved for summary judgment. The district

        court granted plaintiffs’ motion for summary judgment. Applying the analytical framework

        from Bruen, the court concluded the handgun purchase ban violated the Second

        Amendment. Fraser, 672 F Supp. 3d at 126–47 (citing N.Y. State Rifle & Pistol Ass’n, Inc.

        v. Bruen, 597 U.S. 1 (2022)). Plaintiffs then moved for class certification and a permanent

        injunction. The court concluded Federal Rule of Civil Procedure 23 permitted class

        certification after summary judgment and that plaintiffs satisfied Rule 23(b)(2)’s

        requirements. See Fraser v. ATF, No. 3:22-cv-00410, 2023 WL 5616011, at *3, 11 (E.D.

        Va. Aug. 30, 2023). And it awarded the class—all 18- to 20-year-olds—a declaratory

        judgment and a permanent injunction. See Fraser v. ATF, 689 F. Supp. 3d 203, 210, 218

        (E.D. Va. 2023). The government timely appealed.1

                                     II. THE SECOND AMENDMENT

               In District of Columbia v. Heller, the Supreme Court interpreted the Second

        Amendment to protect an individual’s “inherent right” to self-defense. 554 U.S. 570, 628

        (2008). More recently, the Court in Bruen laid out a two-step analytical framework for

        applying the Second Amendment. 597 U.S. at 24. At step one, courts must first assess

        whether “the Second Amendment’s plain text covers an individual’s conduct.” Id. If it does

        not, our inquiry ends—there is no Second Amendment problem. But if the text covers the



               1
                 The district court exercised jurisdiction under 28 U.S.C. § 1331. We exercise
        appellate jurisdiction under 28 U.S.C. § 1291. We review de novo a district court’s ruling
        on the constitutionality of a statute. See Fusaro v. Howard, 19 F.4th 357, 366 (4th Cir.
        2021).



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        conduct, “the Constitution presumptively protects that conduct,” and we must go to step

        two. Id. At step two, the government must overcome the presumption of unconstitutionality

        by demonstrating that “its regulation . . . is consistent with the Nation’s historical tradition

        of firearm regulation.” Id. During that historical inquiry, courts must consider the “how”

        and “why” of historical regulations. Id. at 29. For the “how,” we ask whether the “modern

        and historical regulations impose a comparable burden on the individual’s right.” Id. For

        the “why,” we ask whether that burden is “comparably justified.” Id.

               In United States v. Rahimi, the Court clarified that Second Amendment

        jurisprudence is not “a law trapped in amber.” 602 U.S. 680, 691 (2024). The historical

        inquiry focuses not on finding a “historical twin” but “whether the challenged regulation

        is consistent with the principles that underpin our regulatory tradition.” Id. at 692. But that

        clarification maintained the need for courts to compare the “how” and “why” of the

        challenged regulation with that of its historical comparators. “Why and how the regulation

        burdens the right are central to this inquiry.” Id. Explaining further, the Court emphasized

        the importance of historical firearm regulations under this comparison of principles:

               For example, if laws at the founding regulated firearm use to address
               particular problems, that will be a strong indicator that contemporary laws
               imposing similar restrictions for similar reasons fall within a permissible
               category of regulations. Even when a new law regulates arms-bearing for a
               permissible reason, though, it may not be compatible with the right if it does
               so to an extent beyond what was done at the founding. And when a
               challenged regulation does not precisely match its historical precursors, “it
               still may be analogous enough to pass constitutional muster.”

        Id. (quoting Bruen, 597 U.S. at 30). This two-step inquiry frames our analysis of the federal

        handgun purchase ban.



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        A.     The Second Amendment’s Text

               This case presents two questions at Bruen’s first step—whether plaintiffs are part of

        “the people” and whether the Second Amendment’s text protects plaintiffs’ proposed

        course of conduct.2 597 U.S. at 31–32; see United States v. Price, 111 F.4th 392, 400 (4th

        Cir. 2024) (en banc). I address them in turn.

                                              1. “The People”

               First, are 18- to 20-year-olds part of “the people” protected by the Second

        Amendment? This is a question of first impression in this circuit.3 But several circuits, after

        Rahimi, have concluded 18- to 20-year-olds are part of “the people.” See Reese v. ATF,

        127 F.4th 583, 590–95 (5th Cir. 2025); Lara v. Comm’r Pa. State Police, 125 F.4th 428,

        435–38 (3d Cir. 2025); Rocky Mountain Gun Owners v. Polis, 121 F.4th 96, 114–16 (10th

        Cir. 2024); Worth v. Jacobson, 108 F.4th 677, 688–92 (8th Cir. 2024), cert. denied, No.




               2
                 In Bruen, the Court held that the Second Amendment’s text covers weapons that
        are “in common use” for a lawful purpose. 597 U.S. at 32 (quoting Heller, 554 U.S. at
        627). Our court later held that the question of whether the weapons at issue are commonly
        used for a lawful purpose should be considered at step one. United States v. Price, 111
        F.4th 392, 400 (4th Cir. 2024) (en banc); but see id. at 415 (Quattlebaum, J., concurring in
        the judgment). Here, no party disputes that handguns are “in common use” for a lawful
        purpose. “[T]he American people have considered the handgun to be the quintessential
        self-defense weapon.” Heller, 554 U.S. at 629; see also Bianchi v. Brown, 111 F.4th 438,
        451 (4th Cir. 2024) (en banc) (contrasting “weapons of crime and war” with “the
        handgun”).
               3
                  Prior to Bruen, a panel of this Court concluded that “the Constitution’s text,
        structure, and history affirmatively prove that 18-year-olds are covered by the Second
        Amendment.” Hirschfeld v. ATF, 5 F.4th 407, 440 (4th Cir. 2021). But the panel vacated
        its opinion for mootness when the plaintiff turned 21. See Hirschfeld v. ATF, 14 F.4th 322,
        326 (4th Cir. 2021).



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        24-782, 2025 WL 1151242, at *1 (U.S. April 21, 2025) (mem).4 No federal court of appeals

        has found “the people” excludes 18- to 20-year-olds. For good reason, the majority assumes

        they are part of the people. See Maj. Op. at 10.

               In Heller, the Supreme Court described “the people” as referring “to all members of

        the political community, not an unspecified subset.” 554 U.S. at 580. The Heller Court also

        referenced the Supreme Court’s earlier description that “‘the people’ protected by the

        Fourth Amendment, and by the First and Second Amendments, . . . refers to a class of

        persons who are part of a national community or who have otherwise developed sufficient

        connection with this country to be considered part of that community.” Id. (quoting United

        States v. Verdugo-Urquidez, 494 U.S. 259, 265 (1990)). Under either definition, “the

        people” covers 18- to 20-year-olds.5 They enjoy—as part of “the people”—the protections

        of the First and Fourth Amendments. See Brown v. Ent. Merchs. Ass’n, 564 U.S. 786, 794

        (2011); New Jersey v. T.L.O., 469 U.S. 325, 334 (1985). And the Second Amendment

        protects them too. See Verdugo-Urquidez, 494 U.S. at 265. When read consistently across

        the Constitution, “the people” must include 18- to 20-year-olds. See Polis, 121 F.4th at

        116.




               4
                 Lara and Worth considered state laws prohibiting 18- to 20-year-olds from
        carrying firearms in certain circumstances. Lara, 125 F.4th at 432; Worth, 108 F.4th at 683.
        Polis considered a Colorado law prohibiting anyone younger than 21 from purchasing a
        firearm. 121 F.4th at 104. And Reese considered the federal handgun purchase ban that we
        review today. 127 F.4th at 586.
               5
                 Any distinction between “political community” and “national community” makes
        no difference in today’s case. See Worth, 108 F.4th at 690 n.5.



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               The government hints that 18- to 20-year-olds are excluded from “the people” based

        on the term’s meaning in 1791. And amicus flat out makes that argument. See Everytown

        Amicus Curiae Br., Brown v. ATF, Case No. 23-2275 (4th Cir. Jan. 29, 2024), ECF No. 24

        at 4–5. The argument relies on the fact that during the late eighteenth century, 18- to 20-

        year-olds were minors who could not vote. Since they could not vote, amicus reasons, they

        are not part of “the people” and thus are not protected by the Second Amendment. Id. But

        that cannot be right. The logic behind that view ties “the people” to those who were part of

        the national or political community in the 1770s. But applying that logic consistently would

        not only exclude those who couldn’t vote because of age; it also would exclude those who

        couldn’t vote “based on property ownership, race, or gender.” Reese, 127 F.4th at 592

        (describing founding-era voting limitations based on property ownership and longstanding

        voting restrictions based on race and gender); see also Lara, 125 F.4th at 437 (“the people”

        in the late eighteenth century consisted “solely of white, landed men”).

               The proper inquiry is to use the principle of the relevant national or political

        community but apply it today. See Heller, 554 U.S. at 580–82; see also Rahimi, 602 U.S.

        at 692 (noting that the Court would be “mistaken” to “apply[] the protections of the right

        only to muskets and sabers”). Under that approach, just as the First and Fourth

        Amendments apply to today’s national and political communities, so does the Second

        Amendment.

                                           2. “Keep and Bear”

               Second, does “the plain text of the Second Amendment protect [plaintiffs’]

        proposed course of conduct”—purchasing a handgun from a federal licensee? Bruen, 597


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        U.S. at 32. To answer this question, we must consider whether “the regulation ‘infringes’

        the Second Amendment right to keep and bear arms.” Md. Shall Issue, Inc. v. Moore, 116

        F.4th 211, 220 (4th Cir. 2024) (en banc). Once again, the majority assumes the answer here

        to be yes. See Maj. Op. at 9–10. But not the government. It argues the Second Amendment

        does not protect a right to purchase handguns from commercial sellers when they are

        available from other sources.

               It is correct that the Amendment’s plain text does not contain the word “purchase.”

        It uses the phrase “keep and bear Arms.” U.S. Const. amend. II. But an explicitly

        recognized right implicitly protects closely related acts needed to exercise the right itself.

        See Antonin Scalia & Bryan A. Garner, Reading Law: The Interpretation of Legal Texts

        192–94 (2012) (Predicate-Act Canon). The Supreme Court has followed this interpretative

        canon. For example, in Carey v. Population Services International, the Court noted that

        the right to choose contraception requires the ability to purchase contraception, therefore

        casting doubt on a prohibition of sale. 431 U.S. 678, 687–88 (1977). In the same way, the

        right to keep and bear arms includes the right to purchase them. Otherwise, the expressly

        granted right would be rendered hollow.

               The other circuits that have addressed this question have acknowledged the Second

        Amendment implicitly protects “a corresponding right to acquire [firearms] and maintain

        proficiency in their use.” Ezell v. City of Chicago, 651 F.3d 684, 704 (7th Cir. 2011); see

        Teixeira v. Cnty. of Alameda, 873 F.3d 670, 677 (9th Cir. 2017) (“[T]he core Second

        Amendment right to keep and bear arms for self-defense wouldn’t mean much without the

        ability to acquire arms.” (cleaned up)); Reese, 127 F.4th at 590 (“Because constitutional


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        rights impliedly protect corollary acts necessary to their exercise, we hold that” the Second

        Amendment covers “commercial purchases”); Polis, 121 F.4th at 140 (McHugh, J.,

        concurring) (“Keeping and bearing arms . . . implies the right to acquire arms in order to

        use them for self-defense.”); see also Andrews v. State, 50 Tenn. (3 Heisk) 165, 178 (1871)

        (“The right to keep arms, necessarily involves the right to purchase them . . . .”).

               That makes sense. If you cannot buy a handgun, it’s pretty hard to keep and bear it.

        True, a friend or relative might give you a handgun. But are the Second Amendment’s

        protections so cramped that they only apply to those fortunate enough to have friends or

        family willing and able to transfer handguns as gifts? Surely not.

               Also, applying the Second Amendment to the purchase ban conforms with the

        ordinary meaning of “infringe” during the founding era. Recall that the amendment

        instructs the right “shall not be infringed.” U.S. Const. amend. II. Contemporaneous

        dictionaries defined “infringe” as “[t]o violate” and “[t]o destroy; to hinder.” 1 Samuel

        Johnson, A Dictionary of the English Language (1st ed. 1755); see 1 Noah Webster,

        American Dictionary of the English Language (1828) (similarly defining “infringe”); see

        also 1 Johnson, supra, (defining “hinder” as “[t]o obstruct” and “to impede”); 1 Webster,

        supra, (defining “hinder” as “[t]o impose obstacles or impediments”). So, the ordinary

        meaning of “infringe” at the founding did not require a total deprivation. Barring “the

        people” from purchasing handguns from the only consistent commercial source at the very

        least hinders or impedes their ability to keep and bear arms. See Nunn v. State, 1 Ga. 243,

        251 (1846) (“The right of the whole people . . . to keep and bear arms of every

        description . . . shall not be infringed, curtailed, or broken in upon, in the smallest


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        degree . . . .”); cf. United States v. Scheidt, 103 F.4th 1281, 1284 (7th Cir. 2024)

        (concluding an information disclosure requirement does not “‘infringe’ the right to keep

        and bear arms”).

                           3. Conditions and Qualifications on Commercial Sale

               The government makes another argument that the purchase ban falls outside the

        protection of the Second Amendment. This time, it channels Heller’s non-exhaustive list

        of “longstanding,” “presumptively lawful regulatory measures.” 554 U.S. at 626–27 &

        n.26. Those measures include “laws imposing conditions and qualifications on the

        commercial sale of arms.” Id. at 626–27. The government argues that the federal handgun

        purchase ban is such a condition on commercial sale.

               But this argument conflicts with our precedent. A condition or qualification on the

        sale of arms is a burden on the seller—“a hoop someone must jump through to sell a gun.”

        Hirschfeld, 5 F.4th at 416; see also United States v. Hosford, 843 F.3d 161, 166 (4th Cir.

        2016). This really isn’t a burden on the seller though. It’s a burden on would-be buyers.

               And even if we were to look past that distinction, some burdens go too far. A burden

        may be “so prohibitive as to turn this condition or qualification into a functional

        prohibition.” Hosford, 843 F.3d at 166. For example, in Hosford, we upheld a requirement

        that firearm dealers obtain a license as a condition and qualification on commercial sale;

        but only because it did not rise to a functional prohibition on the purchaser’s right to keep

        and bear arms. Id. at 166–67.

               Following Hosford, a sales ban that functionally prohibits the right to keep and bear

        arms is not a valid condition or qualification on sale. That is exactly what the federal


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        handgun purchase ban does. While formally aimed at the seller, § 922(b) functionally

        prohibits an 18- to 20-year-old buyer from purchasing a handgun. See Hirschfeld, 5 F.4th

        at 417. The 18- to 20-year-old can do nothing but wait until he turns 21. Section 922(b)

        outright prohibits him from purchasing a handgun from a licensed dealer, leaving only

        private sales and gifts as realistic ways to acquire handguns. Those limited channels fail to

        satisfy the Second Amendment’s command.

               I acknowledge not all agree. The Tenth Circuit found a similar state restriction

        constituted a presumptively lawful condition on the commercial sale of arms. See Polis,

        121 F.4th at 118. It reasoned that the state ban is a “narrow, objective, and definite standard

        that applies uniformly to all potential sellers and buyers.” Polis, 121 F.4th at 123. I agree

        that such a ban would be objective and definite. But that alone cannot make it

        constitutional. Bans on selling to those over 25 would also be objective and definite. So

        would bans on selling to women and Black people. They would also be unconstitutional.

               The federal handgun purchase ban, however, is neither narrow nor uniform.

        Admittedly, it does not preclude possessing a handgun and does not apply to the sale of

        other arms like rifles or shotguns. But it completely prohibits a category of “the people”

        from acquiring the quintessential self-defense firearm through ordinary commerce. And it

        singles out 18- to 20-year-olds for heightened regulation.

               For all these reasons, the government’s step one arguments fail. Because the federal

        handgun purchase ban prevents a subset of “the people” from purchasing firearms from the

        primary source, the Second Amendment protects plaintiffs’ proposed course of conduct.




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        B.     Principles Underpinning Our Regulatory Tradition

               To justify the federal handgun purchase ban, the government must show its

        “consisten[cy] with this Nation’s historical tradition of firearm regulation.” Bruen, 597

        U.S. at 34. As noted earlier, while we need not find a “dead ringer” or “historical twin,”

        we must consider “whether the challenged regulation is consistent with the principles that

        underpin our regulatory tradition.” Rahimi, 602 U.S. at 692. “Why and how the regulation

        burdens the right are central to this inquiry.” Id.

               Considering the relevant historical evidence, I cannot agree with the majority. The

        government has failed to meet its burden.

                                         1. Founding-Era Evidence

               “[W]hen it comes to interpreting the Constitution, not all history is created equal.”

        Bruen, 597 U.S. at 34. “The Second Amendment was adopted in 1791; the Fourteenth in

        1868.” Id. The Supreme Court has “generally assumed that the scope of the protection

        applicable to the Federal Government and States is pegged to the public understanding of

        the right when the Bill of Rights was adopted in 1791.” Id. at 37; see also Nat’l Rifle Ass’n

        v. Bondi, 133 F.4th 1108, 1115 (11th Cir. 2025), petition for cert. filed sub nom., Nat’l

        Rifle Ass’n v. Glass, No. 24-1185 (U.S. May 16, 2025) (looking to founding-era evidence

        when assessing a similar state purchase ban). So, I begin by analyzing the founding-era

        evidence.

                                         a. Contract Law Principles

               The majority relies on founding-era contract law. It explains, correctly, that

        contracts entered by people under 21 were voidable by the minor at common law. See Maj.


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        Op. at 10–13; see also Nat’l Rifle Assoc., 133 F.4th at 1117–18. Then, the majority reasons

        this common law contracting principle is sufficiently similar to the federal handgun

        purchase ban at issue here. See Maj. Op. at 14–15. Both, according to the majority,

        (1) increase the difficulty for 18- to 20-year-olds to purchase firearms (the “how”) and

        (2) are based on a common rationale—people of that age group lack the judgment of adults

        (the “why”). Because of the similarities, the majority concludes that the purchase ban does

        not offend the Second Amendment.

               For several reasons, I disagree.

               First, the contract principle relied on by the majority does not share a comparable

        “how” and “why” with the federal handgun purchase ban. As to “how,” founding-era

        contract law did not ban the sale of guns to 18- to 20-year-olds. In fact, it did not ban

        anything. It gave minors the benefit of voiding a contract they had entered. See Nat’l Rifle

        Association, 133 F.4th at 1165–67 (Branch, J., dissenting) (noting a “long recognized []

        difference between forming a contract and that same contract later being declared

        unenforceable”). It did not impose any governmental burden on contracts.

               The majority attempts to shoehorn the minor’s ability to void a contract into a

        governmental burden by considering what the practical impact of the voidability principle

        may have been. Perhaps a seller of guns would hesitate to enter a contract to sell something

        to an 18-year-old. But any voluntary hesitancy is not a governmental regulation of such

        sales. It comes from a different source. Any burden imposed on the right to buy a handgun

        comes not from the government, but from the seller’s economic choices.




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               And the burdens are not similar either. Under the voidability principle, the only

        “risk” generated by the voidability principle was the possibility the 18-year-old might

        “rescind the transaction and be entitled to a full refund.” Maj. Op. at 12. In a worst-case

        scenario, the merchant returned the money and got the gun back, losing only the time he

        took to sell the gun to the 18-year-old. Refunds are a standard part of commercial life with

        benefits to both retailers and consumers. They are not to be seriously compared with the

        threat of prison. So, the “how” here is distinct.

               So is the “why.” The contract principle “results from the inability of infants to take

        care of themselves.” 2 James Kent, Commentaries on American Law 191 (O. Halsted ed.,

        1827). The handgun purchase ban was intended to bar “emotionally immature, or thrill-

        bent juveniles and minors prone to criminal behavior” from obtaining firearms. Omnibus

        Crime Control and Safe Streets Act of 1968, Pub. L. No. 90-351, 82 Stat. 197, 225–26.

        Perhaps these rationales have some relationship. But they are not sufficiently similar. The

        former is paternalistic; the latter targets public safety. See, e.g., See Bruen, 597 U.S. at 30–

        31 (explaining that the historical, narrow “sensitive places” regulations lack similarity to a

        declaration that an entire city is a gun-free zone). And no matter how the majority views

        it, public safety is not a matter of contract law.

               Maybe in the future, the Supreme Court will permit more flexibility in the historical

        evidence courts can consider when reviewing modern firearm regulations. But we apply

        current law, rather than predict the law’s evolution. See Agostini v. Felton, 521 U.S. 203,

        237 (1997); see also Ohio v. Becerra, 87 F.4th 759, 770 (6th Cir. 2023) (“In other words,

        we apply directly applicable Supreme Court precedent as it currently stands, without


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        projecting where it may be headed.”). Wayne Gretzky, perhaps the greatest hockey player

        of all time, owed much of his success to his ability to anticipate. He said, “I skate to where

        the puck is going to be, not where it’s been.” John Robert Colombo, Colombo’s New

        Canadian Quotations 162 (1987).6 While that worked for Gretzky, it doesn’t work for us.

        Our job is to stay where the puck is now. That means we follow the Supreme Court’s

        current jurisprudence. When we do so, the common law contract principle that permitted

        minors to void contracts does not support the constitutionality of the federal government

        banning 18- to 20-year-olds from buying handguns.

               Second, the majority points to no evidence that the contract principle limited the

        ability of 18- to 20-year-olds to acquire guns in the founding era. It declares that age group

        lacked access to cash and would only be able to purchase with credit. See Maj. Op. at 11–

        12. And it declares that sellers would not sell guns to minors on credit because the contracts

        could be voided. Id. But those statements are not evidence of what actually happened. It is

        certainly possible that the risk of an 18- to 20-year-old voiding a contract spooked some

        sellers. But why isn’t it just as possible that sellers would have taken the risk knowing they

        could get the gun back from a voided contract? And isn’t it also possible that if minors

        lacked cash, they would trade property they did have for guns? After all, bartering was an

        accepted form of founding-era commerce. See, e.g., William T. Baxter, Observations on


               6
                 The quote is famously attributed to Wayne Gretzky, but apparently his father
        Walter Gretzky stated it. See Barry Libert, Skate to the Where the Puck is Going . . . AI,
        Forbes            (Feb.        21,          2025,          at        8:56            ET),
        https://www.forbes.com/sites/libertbarry/2025/02/21/skate-to-the-where-the-puck-is-
        goingai/ [https://perma.cc/28PQ-CKRG].



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        Money, Barter and Bookkeeping, 31 Accounting Historians J. 129, 133–36 (2004). Finally,

        rather than avoiding selling to minors altogether, isn’t it possible that sellers might have

        negotiated collateral or a guarantee in selling a gun to a minor? Ultimately, the majority

        rests its decisions on economic speculation, not historical evidence.

               In fact, we need not speculate about which of these possibilities is more likely

        correct. There is actual historical evidence. As Judge Branch points out, the historical

        record reflects merchants selling on credit to minors, including sales of firearms, despite

        the risk. See Nat’l Rifle Assoc., 133 F.4th at 1166 (Branch, J., dissenting) (first citing Soper

        v. President & Fellows of Harv. Coll., 18 Mass. 177, 183–84 (1822) (acknowledging that

        merchants “will nevertheless give credit” to “young men”); then citing Saunders Glover &

        Co. v. Ott’s Adm’r, 12 S.C.L. (1 McCord) 572, 572 (1822) (concluding a minor’s purchase

        of “pistols” and “powder” was voidable because the items were not “necessaries”)). The

        evidence just doesn’t support the majority’s claims.7 For those reasons, I cannot agree that



               7
                   The contract principle may not have even applied to firearms in some
        circumstances. A minor could not void contracts for “his necessary meat, drink, apparel,
        physic, and such other necessaries.” 1 William Blackstone, Commentaries *454. Are
        firearms necessaries? The Constitutional Court of Appeals of South Carolina concluded
        pistols were not a necessary, but only on the facts of that case. See Saunders Glover, 12
        S.C.L. at 572. And as explained in more detail below, the federal Militia Act of 1792 and
        contemporaneous laws in all states required militiamen—including 18- to 20-year-olds—
        to equip themselves with firearms. If the law required 18- to 20-year-olds to obtain arms
        for militia service, then those arms may have been “necessaries.” See, e.g., Coates v. Wilson
        (1807) 170 Eng. Rep. 769, 769; 5 Esp. 152, 152 (concluding a tailor could enforce a
        contract against a minor soldier because the soldier’s uniform was a necessary); Militia Act
        of 1792, ch. 33, sec. 1, 1 Stat. 271, 272 (exempting “arms, ammunition and accoutrements”
        obtained for militia service from “all suits, distresses, executions or sale, for debt or for the
        payment of taxes”).



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        the contract principle expresses a relevantly similar historical tradition of firearm

        regulation.

                                             b. Minority Status

               The government marshals other founding-era evidence of 18- to 20-year-olds’

        minority status. Blackstone described the age of majority as 21. 1 William Blackstone,

        Commentaries *451. As a result, founding-era legislatures prohibited persons under 21

        from marrying without parental approval. See 4 Statutes at Large of Pennsylvania from

        1682 to 1801, at 153 (James T. Mitchell & Henry Flanders eds. 1897) (citing a 1729 act).

        Persons under 21 could not vote until the ratification of the Twenty-Sixth Amendment in

        the 1970s. U.S. Const. amend. XXVI. Because jury service was often tied to the franchise,

        persons less than 21 could not serve on juries. See Albert W. Alschuler & Andrew G. Deiss,

        A Brief History of Criminal Jury in the United States, 61 U. Chi. L. Rev. 867, 877 n.52

        (1994). These restrictions were premised on the belief that “infants [had an inability] to

        take care of themselves; and this inability continues, in contemplation of law, until the

        infant has attained the age of twenty-one years.” Kent, supra, at 191. John Adams and

        Gouverneur Morris—two founding fathers—expressed concerns about the “prudence” of

        those under 21. Gov. Br. at 13–14.

               But this evidence only shows that some rights at the founding extended to those

        under 21 and some didn’t. That’s because, as already discussed, the First and Fourth

        Amendments extended to 18- to 20-year-olds. See Brown, 564 U.S. at 794; T.L.O., 469




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        U.S. at 334.8 So, the fact that 18- to 20-year-olds did not have the full panoply of rights as

        adults at the founding merely requires that we roll up our sleeves and examine the evidence

        on a right-by-right basis. When we do that, the historical evidence indicates that the Second

        Amendment, like the First and Fourth, applied to 18- to 20-year-olds.

               Also, this evidence about minority status is not evidence of firearm regulations. At

        most, it is evidence about how some general principles might apply to firearms. Thus, for

        the same reasons discussed in the previous analysis of contract law principles, this minority

        status evidence is not the type of evidence that Bruen and Rahimi require to overcome the

        presumption of unconstitutionality.

                                               c. Constables

               The government also points to a South Carolina treatise barring “infants” from

        serving as constables—deputized law enforcement officers—as evidence that 18- to 20-

        year-olds lacked access to firearms. See John Faucheraud Grimke, The South-Carolina

        Justice of Peace 117–18 (3d ed. 1810) (originally published in 1788). According to the

        government, since minors could not be constables and constables carried firearms, the

        exclusion of minors shows that they lacked access to guns. The government then claims


               8
                 As Blackstone’s Commentaries makes clear, the relevant age of majority depended
        on the particular individual’s capacity or activity. 1 William Blackstone, Commentaries
        *451; see also id. at *453 (noting the “different capacities which [individuals] assume at
        different ages”). For example, a man could take an oath of allegiance at age 12, be capitally
        punished in a criminal case at age 14, and serve as an executor at age 17. Id. at *451–52.
        And a woman could consent to marriage at age 12, choose a guardian at age 14, and serve
        as an executrix at age 17. Id. at *451. Both sexes had to wait until age 21 to dispose of their
        lands. Id. So while the full age of majority was 21 at common law, that only mattered for
        specific activities. Id.



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        the constable regulation is based on the same reasoning as the federal handgun purchase

        ban—that minors lack the judgment to carry firearms.

               This argument is remarkably weak. First, the treatise says nothing about the ability

        of minors to acquire firearms. Second, it also prohibits “[j]ustices of the peace, clergyman,

        attornies, infants, lawyers, madmen, physicians, idiots, poor, old and sick persons” from

        serving as constables. Id. at 117. There can be no credible argument that others ineligible

        to be constables—like clergyman, lawyers and physicians—lack the judgment to carry

        guns.9 As a result, the constable restriction cannot share the same “why” as the federal

        handgun purchase ban; it’s not excluding persons because of their poor judgment when

        carrying firearms.

               Nor does it share the same “how”—it does not prohibit “infants” from purchasing

        or possessing firearms, but rather excludes them from performing constable duty.10 This

        source does not provide a relevantly similar principle justifying the handgun purchase ban.




               9
                 I realize this is a bit of a hanging curveball. Many might contend that lawyers fall
        in the same category as madmen and idiots. But even taking lawyers out of the equation,
        clergyman and physicians surely possess the judgment to carry guns.
               10
                  Amici cite several college regulations preventing students from possessing
        firearms. But these regulations applied to all students, not just minors, and required
        disarmament in particular locations. See Reese, 127 F.4th at 596–97. They appear to be
        “sensitive place” regulations, with a “why” of securing peace and discipline on a college
        campus and a “how” of temporary disarmament. See id.; Bruen, 597 U.S. at 30–31. What’s
        more, to the extent these regulations affected minors, they actually demonstrate minors had
        access to guns. After all, why ban guns on college campuses if minor students could not
        obtain them?



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                                             d. The Militia Act

               In contrast to the evidence relied on by the majority and the government, the Militia

        Act of 1792—enacted shortly after the Second Amendment’s ratification—provides strong

        evidence that the Second Amendment protected 18- to 20-year-olds. The Act required

        “[t]hat each and every free able-bodied white male citizen of the respective states, resident

        therein, who is or shall be of the age of eighteen years, and under the age of forty-five years

        (except as herein after excepted) shall severally and respectively be enrolled in the militia.”

        Militia Act of 1792, ch. 33, sec. 1, 1 Stat. 271, 271. Each militiaman had a duty to “provide

        himself with a good musket or firelock . . . or with a good rifle.” Id. After Congress enacted

        this statute, every state set the age for militia service at 18. See Jones v. Bonta, 34 F.4th

        704, 719, 738 (9th Cir. 2022), vacated on reh’g and remanded in light of Bruen, 47 F.4th

        1124 (mem.); Hirschfeld, 5 F.4th at 428–434. As the federal and state militia laws required

        18- to 20-year-olds to show up with a musket, firelock or rifle, these laws illustrate that

        folks of that age could acquire the weapons. Thus, the various militia laws undermine any

        supposed traditional principle that permits depriving 18- to 20-year-olds of their Second

        Amendment right.

               The government and the majority offer several retorts. None are persuasive.

               First, according to the majority, the Militia Act of 1792 merely required a militiaman

        to “provide himself” with a musket or firelock but did not require him to “purchase” one.

        Maj. Op. at 16. But the “provide himself” language applied to all militiamen, not just 18-

        to 20-year-olds. Given that, the best reading of the Act indicates all militiamen, including




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        18- to 20-year-olds, had the ability to acquire firearms. Congress could not have expected

        all 18- to 20-year-old militiamen across the entire country to obtain firearms by gift.

               Second, the majority and government point out that some states raised the militia

        age above 21. True, Virginia did so in 1738 before returning it to 18 or less in 1757—in

        the midst of the French & Indian War. See 5 William Waller Hening, The Statutes at Large:

        Being a Collection of All the Laws of Virginia, from the First Session of the Legislature, in

        the Year 1619, at 16 (1823); see also David B. Kopel & Joseph G.S. Greenlee, The Second

        Amendment Rights of Young Adults, 43 S. ILL. U. L.J. 495, 579 (2019). And New Jersey

        set a militia age of 21 for an expedition of 500 men to Canada during King George’s War.

        See 3 Bernard Bush, Laws of the Royal Colony of New Jersey, at 15, 17 (1980); see also

        Kopel & Greenlee, supra, at 536 (discussing this 1746 New Jersey act); Hirschfeld, 5 F.4th

        at 431–33 (discussing Virginia, New Jersey and Pennsylvania statutes). But these isolated

        examples were withdrawn decades before the Second Amendment’s ratification when

        every state required enrollment by age 18.

               Third, the government and the majority believe that parental provisioning statutes

        imply minors could not buy firearms. And it is true that an 1810 Massachusetts act, as one

        example, required parents to equip minor militiamen “with the arms and equipments,

        required by this act.” Act of Mar. 6, 1810, ch. 107, sec. 28, 1810 Mass. Acts 157, 176. I

        agree that meant parents had to provide a “good musket” if the minor didn’t have one. Id.

        sec. 1, 1810 Mass. Acts 151, 152. But that does not establish that minors could not acquire

        guns themselves. In fact, under the same act, parents also had to provide “two spare flints,

        and a knapsack, a pouch with a box therein, to contain not less than twenty-four cartridges,


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        suited to the bore of his musket or firelock, each cartridge to contain a proper quantity of

        powder and ball.” Id. Surely an 18-year-old could buy a “knapsack” and a “pouch” in 1810,

        and yet the law required parents to provide them. Considering the state militia laws as a

        whole, parental provisioning requirements do not signal a firearm purchasing restriction;

        instead, they recognize that some minors might not have had the necessary equipment for

        militia service. In those instances, parents bore the financial burden of equipping.

               The government makes two additional arguments that, for good reason, the majority

        steers clear of. The government points to militia parental consent statutes. A 1755

        Pennsylvania act required parental approval for persons less than 21 to join the militia. But

        it applied for only one year at the start of the French & Indian War. See 5 Statutes at Large

        of Pennsylvania from 1682 to 1801, at 200 (James T. Mitchell & Henry Flanders eds.

        1898); see also Kopel & Greenlee, supra, at 561. A 1746 New Jersey act had a similar

        parental consent requirement and was also enacted during wartime. See Bush, supra, at 15,

        17; see also Kopel & Greenlee, supra, at 536; Hirschfeld, 5 F.4th at 433–34 (discussing a

        nineteenth-century New York statute). These consent statutes are hardly sufficient to

        overcome the strong, contemporaneous evidence from the Militia Act that minors had

        access to guns during the founding era.

               Finally, the government argues the Militia Act should not be considered because

        Heller detached the Second Amendment right from militia service. This misreads Heller.

        True, Heller held that the Second Amendment conferred an individual right and not a right

        solely tied to service in the militia. 554 U.S. at 582–83. But the Supreme Court did not

        completely eliminate the relationship between the Second Amendment and the militia.


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        According to Heller, a purpose of the amendment was “to prevent elimination of the

        militia.” Id. at 599. Although not the only reason for the right, “the threat that the new

        Federal Government would destroy the citizens’ militia by taking away their arms was the

        reason that right—unlike some other [pre-existing] English rights—was codified in a

        written Constitution.” Id. The people had a right to keep and bear arms so that they could

        form a militia to protect their interests. As jurist Thomas M. Cooley explained, “the people,

        from whom the militia must be taken, shall have the right to keep and bear arms.” Thomas

        M. Cooley, The General Principles of Constitutional Law in the United States of America

        271 (1880).

               In sum, none of the evidence marshaled by the majority or the government

        demonstrates the federal handgun purchase ban’s consistency with our Nation’s historical

        tradition of firearm regulation so as to overcome the presumption of unconstitutionality. In

        contrast, the Militia Act of 1792 is “good circumstantial evidence of the public

        understanding at the Second Amendment’s ratification as to whether 18-to-20-year-olds

        could be armed.” Lara, 125 F.4th at 444.11




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                  Justice Barrett has cautioned that relying on a dearth of eighteenth-century gun
        regulations to strike down a twenty-first-century regulation “assumes that founding-era
        legislatures maximally exercised their power to regulate.” Rahimi, 602 U.S. at 739–40
        (Barrett, J., concurring). That makes sense to me. Even so, I’m not sure what to do with it.
        Bruen and Rahimi say that if conduct is covered by the text of the Second Amendment, it
        is presumptively unconstitutional. The government must then identify evidence that
        supports the modern regulation. Just like a tie goes to the runner in baseball, that seems to
        mean silence in the historical record goes against the government when considering step
        two of a Second Amendment analysis.



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               In concurrence, Judge Heytens criticizes McCoy’s reliance on militia statutes

        because the logical extension of McCoy’s position would be the Second Amendment

        permits 16- and 17-year-olds to purchase firearms. I do not share his concerns.

               First, because this case does not present the issue, the record before us does not

        sufficiently address a historical tradition of restricting 16- and 17-year-olds’ access to

        firearms. But as we stated in Hirschfeld, “the history of the right to keep and bear arms,

        including militia laws, may well permit drawing the line at 18.” 5 F.4th at 422 n.13. After

        all, within one year of the Bill of Rights’ ratification, the Militia Act of 1792 set the age of

        service at 18. All states followed suit. So, immediately after the Second Amendment’s

        ratification, the federal government and all states set a service age of 18. To be sure, some

        evidence exists supporting a service age younger than 18. But that evidence is scattered

        across different colonies and states at different times, most of it predating the Bill of Rights’

        ratification. At least on the record before us, the 16- to 17-year-old evidence is not as

        persuasive as the 18- to 20-year-old evidence.

               Second, even if the evidence was more persuasive, Bruen does not permit such

        consequential reasoning. It requires us to assess the challenged regulation against our

        historical tradition of firearm regulation. If the historical tradition supports the rights of 16-

        to 17-year-olds to purchase firearms, then Bruen dictates that they have that right under the

        Second Amendment.

               That might be jarring to some. For that matter, some may find permitting 18-year-

        olds to purchase handguns equally jarring. But those feelings, no matter how legitimate,

        really are saying a little infringement into the Second Amendment’s protections is okay if


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        it’s for a good enough reason. But as we all know, Bruen confirmed we do not apply such

        means/ends analysis in the Second Amendment context. See 597 U.S. at 24. Courts cannot

        functionally resurrect means/ends analysis by avoiding the formalities of its language.

               Also, these arguments, at their core, involve policy—at what age should persons

        under 21 be able to purchase handguns? Making policy decisions is outside our job

        description. We make decisions based on the law. That means we must follow Supreme

        Court precedent faithfully, wherever it takes us. We cannot stray from that obligation when

        we do not like the result.

                                      2. Nineteenth-Century Evidence

               The government turns to nineteenth-century evidence to meet its burden. And the

        majority concludes this evidence “reinforce[s]” the founding-era history. See Maj. Op. at

        17. Admittedly, the government provides evidence of relevantly similar restrictions on 18-

        to 20-year-olds’ ability to purchase handguns from the decades before and after the

        Fourteenth Amendment’s ratification. For example, Alabama, Tennessee and Kentucky

        each passed statutes prohibiting the sale of pistols or other dangerous weapons to minors

        before the Civil War. See An Act to Amend the Criminal Law, No. 26, sec. 1, 1856 Ala.

        Acts 17, 17; An Act to Amend the Criminal Laws of this State, ch. 81, secs. 2-3, 1856

        Tenn. Acts 92, 92; Act of Jan. 12, 1860, ch. 33, sec. 23, 1860 Ky. Acts 241, 245. The

        Supreme Court of Tennessee rejected a constitutional challenge to one of these statutes,

        explaining the statute’s purpose as “suppress[ing] [] the pernicious and dangerous practice

        of carrying arms.” State v. Callicutt, 69 Tenn. 714, 716 (1878). So, these statutes share a

        similar “how”—prohibiting sale of dangerous weapons to persons under 21, with small


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        exceptions—and a similar “why”—public safety—with the federal handgun purchase ban.

        And states enacted more of these restrictions after the Civil War. See Maj. Op. at 17 n.3.

               Were this evidence present during the founding era, this might be a different case.

        But it wasn’t. As such, it deserves little weight under Bruen. That is because these mid-

        nineteenth-century statutes contradict the original meaning of the Second Amendment. See

        Reese, 127 F.4th at 599. While the Supreme Court has acknowledged the importance of

        the Second Amendment’s interpretation from immediately after ratification through the

        end of the nineteenth century, Heller, 554 U.S. at 605, “we must also guard against giving

        postenactment history more weight than it can rightly bear,” Bruen, 597 U.S. at 35. A

        regular course of practice may demonstrate a settled meaning of a disputed constitutional

        phrase. Bruen, 597 at 35–36 (citing Chiafalo v. Washington, 591 U.S. 578, 592–93 (2020)).

        “But to the extent later history contradicts what the text says, the text controls.” Id. at 36.

        Post-ratification laws inconsistent with the constitutional text’s original meaning cannot

        overcome that text. Id. (citing Heller v. District of Columbia, 670 F.3d 1244, 1274 n.6

        (D.C. Cir. 2011) (Kavanaugh, J., dissenting)). The government’s nineteenth-century

        statutes contradict the founding-era understanding that 18- to 20-year-olds may buy

        firearms because (1) there is no evidence of a relevant restrictive principle of firearm

        regulation from the founding era and (2) 18- to 20-year-olds had to equip themselves with

        firearms under the Militia Act of 1792 and contemporaneous militia laws in every state.

               The majority argues that because handguns became more common in the early

        nineteenth century, we must accord greater weight to the nineteenth-century evidence. See

        Randolph Roth, Why Guns Are and Are Not the Problem, in A Right to Bear Arms?: The


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        Contested Role of History in Contemporary Debates on the Second Amendment 113, 117–

        24 (Jennifer Tucker et al. eds., 2019). But the former doesn’t require the latter. It is correct

        that Bruen acknowledges that “cases implicating unprecedented societal concerns or

        dramatic technological changes may require a more nuanced approach.” 597 U.S. at 27. At

        the same time, Bruen still instructs us to apply the historical principles analysis in those

        cases—“history guide[s] our consideration of modern regulations that were unimaginable

        at the founding.” Id. at 28. And under a Bruen analysis, the mid-nineteenth-century statutes

        contradict the original public meaning of the Second Amendment. See Lara, 125 F.4th at

        441–42.

               Also, it is not clear that these mid-nineteenth-century regulations responded to an

        “unprecedented societal concern[] or dramatic technological change[].” Bruen, 597 U.S. at

        27. Handguns existed at the founding. Some American households owned pistols in the

        mid-eighteenth century. Roth, supra, at 116. True, mid-nineteenth-century revolvers

        offered ease of use, speed and effectiveness that earlier muzzle-loading pistols could not.

        Roth, supra, at 121–22. And as a result, breech-loading pistols became more popular. But

        under the historical principles analysis, the content of the nineteenth-century statutes reveal

        they were not enacted to remedy this technological change. The supposedly relevantly

        similar nineteenth-century statutes addressed weapons like knives in addition to pistols.

        See, e.g., 1856 Ala. Acts at 17 (prohibiting the sale of a pistol, air gun, “a bowie knife, or

        knife or instrument of the like kind or description, by whatever name called”). Those

        weapons existed long before the mid-nineteenth century and were not subject to a




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        “dramatic technological change[]” when sale to 18- to 20-year-olds was banned. Bruen,

        597 U.S. at 27.12

                 Because the government has not shown a relevant principle of restricting 18- to 20-

        year-olds’ access to self-defense weapons at the time of the founding, it has failed to justify

        the federal handgun purchase ban. I would find the ban violates the Second Amendment.

                                                  III. REMEDIES

                 For the reasons above, I would affirm the district court’s Second Amendment

        conclusions. I would also affirm its remedy—enjoining the federal handgun purchase ban

        as to the class of 18- to 20-year-olds.

                 The government argues the district court abused its discretion by certifying a Rule

        23(b)(2) class after granting summary judgment. We review the district court’s certification

        of a class for abuse of discretion. EQT Prod. Co. v. Adair, 764 F.3d 347, 357 (4th Cir.

        2014).

                 An earlier version of Federal Rule of Civil Procedure 23 required courts to

        determine class certification “[a]s soon as practicable after the commencement of an action

        brought as a class action.” Fed. R. Civ. P. 23(c)(1) (1966). This prevented potential parties



                  The majority concludes that unlike the regimes struck down in Heller and Bruen,
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        the federal handgun purchase ban is no “outlier.” See Maj. Op. at 19. In fact, it posits that
        holding this law unconstitutional would be the outlier. Id. Not so. The Fifth Circuit found
        the federal handgun purchase ban to be unconstitutional, Reese, 127 F.4th at 600, and the
        Third Circuit struck down a similar state prohibition on carrying arms, Lara, 125 F.4th at
        446. See also Worth, 108 F.4th at 698 (concluding age-based carry prohibition was
        unconstitutional); but see Bondi, 133 F.4th at 1130 (upholding a similar state purchase
        restriction); Polis, 121 F.4th at 118 (finding substantial likelihood that state purchasing
        restriction was a presumptively lawful condition and qualification on commercial sale).



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        from “await[ing] developments in the trial or even final judgment on the merits” before

        deciding to join the class. Am. Pipe & Constr. Co. v. Utah, 414 U.S. 538, 547 (1974). The

        Supreme Court has referred to this situation as “one-way intervention.” Id. The modern

        version of the rule slightly amended the timing language: “At an early practicable time

        after a person sues or is sued as a class representative, the court must determine by order

        whether to certify the action as a class action.” Fed. R. Civ. P. 23(c)(1)(A) (2003). The

        advisory committee explained that courts may need time and even limited discovery to

        make the certification decision. Fed. R. Civ. P. 23(c) advisory committee’s notes to 2003

        amendment.

               According to the district court, it had wide discretion to decide whether to reach

        class certification before or after resolving the summary judgment question. Fraser, 2023

        WL 5616011, at *3. While certifying a class after granting summary judgment gives me

        pause, I cannot say the district court abused its discretion here. First, there is no one-way

        intervention concern because Rule 23(b)(2) class members have no opportunity to opt in

        or out. See Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 362 (2011). Rule 23(b)(2) creates

        a “mandatory” class and a district court need not even notify members of the action. Id.;

        see also Gooch v. Life Invs. Ins. of Am., 672 F.3d 402, 433 (6th Cir. 2012) (one-way

        intervention prohibition does not apply to Rule 23(b)(2) class certifications). Second,

        unlike many cases, this facial constitutional challenge involved no discovery before

        summary judgment. So, certification was at an “early practicable time.” Fed. R. Civ. P.

        23(c)(1)(A). Finally, there is no concern about “fairness to both sides.” Gooch, 672 F.3d at

        433 (quoting Paxton v. Union Nat’l Bank, 688 F.2d 552, 559 (8th Cir. 1982)). The parties


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        conferenced and agreed to proceed with dispositive motions—the government moved to

        dismiss and plaintiffs moved for summary judgment. Both parties should have understood

        the risks of moving forward with dispositive motions before the class certification decision.

        I, therefore, see no abuse of discretion in the district court’s certification of a Rule 23(b)(2)

        class after it granted summary judgment to plaintiffs.

                                              IV. CONCLUSION

               For these reasons, I respectfully dissent. The federal handgun purchase ban

        implicates the Second Amendment’s text because 18- to 20-year-olds are part of “the

        people,” a ban on purchasing infringes the right to “keep and bear” arms and the federal

        handgun purchase ban is not a presumptively valid condition or qualification on

        commercial sale. The government has not met its burden to justify the regulation with

        relevant principles from our Nation’s historical tradition of firearm regulation.




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